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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                :    CHAPTER 13
                                                      :
ROBERT EDWARD SPICER,                                 :    CASE NO. 18-70334-SMS
                                                      :
         Debtor.                                      :    JUDGE SIGLER
                                                      :
                                                      :
NATIONSTAR MORTGAGE LLC D/B/A MR.                     :    CONTESTED MATTER
COOPER,                                               :
                                                      :
         Movant.                                      :
                                                      :
v.
ROBERT EDWARD SPICER,                                 :
MARY IDA TOWNSON, Trustee                             :
                                                      :
         Respondents.                                 :

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

          June 16, 2020
         ___________________       2:00 p.m.
                              at ___________   at the United States Bankruptcy Court, 75 Ted
         Turner Drive S.W., Courtroom 1201, Atlanta, Georgia 30303.

         *** Given the current public health crisis, hearings may be telephonic only. Please
         check the “Important Information Regarding Court Operations During COVID-19
         Outbreak” tab at the top of the GANB Website prior to the hearing for instructions on
         whether to appear in person or by phone ***

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a certificate
         stating when, how and on whom (including addresses) you served the response. Send your
         response so that it is received by the Clerk at least two business days before the hearing.
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      If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
      days, Movant waives the requirement for holding a preliminary hearing within thirty days of
      filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
      rendered by the Court within sixty (60) days of the date of the request, Movant waives the
      requirement that a final decision be issued within that period. Movant consents to the automatic
      stay remaining in effect until the Court orders otherwise.

      The address of the Clerk's Office is: Clerk, 75 Ted Turner Drive S.W., Suite 1340, Atlanta,
      Georgia 30303. You must also send a copy of your response to the undersigned at the address
      stated below.


      Dated this:   5/28/2020


                                                  /s/ Heather D. Bock
                                                  Heather D. Bock, GA BAR NO. 122806
                                                  Attorney for Movant
                                                  McCalla Raymer Leibert Pierce, LLC
                                                  1544 Old Alabama Road
                                                  Roswell, Georgia 30076
                                                  678-281-6444
                                                  Heather.Bock@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    )   CHAPTER 13
                                                          )
ROBERT EDWARD SPICER,                                     )   CASE NO. 18-70334-SMS
                                                          )
         Debtor.                                          )   JUDGE SIGLER
                                                          )
                                                          )
NATIONSTAR MORTGAGE LLC D/B/A MR.                         )   CONTESTED MATTER
COOPER,                                                   )
                                                          )
         Movant.                                          )
                                                          )
v.                                                        )
ROBERT EDWARD SPICER,                                     )
MARY IDA TOWNSON, Trustee                                 )

         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. Said real property is security for a promissory note, and is commonly known as 2260

Howell Farms Trail NW, Acworth, Georgia 30101 (the “Property”).

                                                  3.
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       Attached are redacted copies of any documents that support the claim, such as promissory

notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,

mortgages, and security agreements in support of right to seek a lift of the automatic stay and

foreclose if necessary.

                                                4.

       Debtor has defaulted in making payments which have come due since this case was filed.

As of May 15, 2020, Debtor is delinquent for seven (7) payments of $1,184.22 each and five (5)

payments of $1,212.70 each, for a total amount of missed payments of $14,353.04, pursuant to

the terms of the Note. In addition, Movant has also incurred post-petition Bankruptcy fees of

$300.00, as disclosed on the Notice of Post-petition Mortgage Fees, Expenses, and Charges filed

April 29, 2019.

                                                5.

       The unpaid principal balance, as of May 15, 2020, is $139,050.77, and interest is due

thereon in accordance with the Note. The current amount of unpaid interest on Movant’s loan as

of May 15, 2020 is $15,063.88.

                                                6.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                7.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                8.

       Debtor's Schedule A/B values the Property at $207,569.00. Upon information and belief,

Movant is not aware of any other liens against the Property, other than a second lien in the
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amount of $1,350.00 held by Howell Farms HOA, according to Debtor's Schedule D.

                                                  9.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/ Heather D. Bock
                                               Heather D. Bock, Georgia BAR NO. 122806
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6444
                                               Heather.Bock@mccalla.com
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                                            BANKRUPTCY CASE NO. 18-70334-SMS

                                            CHAPTER 13

                                 CERTIFICATE OF SERVICE

      I, Heather D. Bock, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

Robert Edward Spicer
2260 Howell Farms Trail NW
Acworth, GA 30101

Howard P. Slomka                            (served via ECF notification)
Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Mary Ida Townson, Chapter 13 Trustee        (served via ECF notification)
Suite 1600
285 Peachtree Center Ave, NE
Atlanta, GA 3030


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:     5/28/2020       By:    /s/ Heather D. Bock
                     (date)             Heather D. Bock Georgia BAR NO. 122806
                                        Attorney for Movant
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